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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:17-10101-STA
                                    )
BRADLEY ALEXANDER WALKER,          )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on September 4, 2018, Assistant United States Attorney, Taylor
Eskridge, appearing for the Government and the defendant, Bradley Alexander Walker, appearing in
person, and with counsel, Barry McWhirter.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, DECEMBER 11, 2018 at 11:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 4th day of September, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
